Case 23-10763-amc               Doc 751        Filed 10/01/24 Entered 10/01/24 14:00:59                             Desc Main
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                                                 Chapter 11

STREAM TV NETWORKS, INC. 1                                             Bky No.: 23-10763 (MDC)

           Debtor.

In re:                                                                 Chapter 11

TECHNOVATIVE MEDIA, INC.                                               Bky No.: 23-10764 (MDC)

           Debtor.

                                                                       (Jointly Administered)


                                        CERTIFICATE OF SERVICE RE

Docket                   MOTION OF WILLIAM A. HOMONY IN HIS CAPACITY AS
No. 750                  CHAPTER 11 TRUSTEE FOR (I) AN ORDER (A) APPROVING THE
                         BIDDING PROCEDURES AND FORM OF ASSET PURCHASE
                         AGREEMENT FOR THE SALE OF SUBSTANTIALLY ALL OF THE
                         DEBTORS’ ASSETS INCLUDING APPROVAL OF PROVISIONS
                         FOR DESIGNATION OF A STALKING HORSE,
                         (B) ESTABLISHING THE NOTICE PROCEDURES AND
                         APPROVING THE FORM AND MANNER OF NOTICE THEREOF
                         AND SCHEDULING AN AUCTION, (C) APPROVING
                         PROCEDURES FOR THE ASSUMPTION AND ASSIGNMENT OF
                         CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED
                         LEASES, (D) SCHEDULING A SALE HEARING, (E) GRANTING
                         EXPEDITED CONSIDERATION PURSUANT TO LOCAL RULE OF
                         BANKRUPTCY PROCEDURE 5070-1(g); AND (F) GRANTING
                         RELATED RELIEF, AND (II) AN ORDER (A) APPROVING THE
                         SALE OF THE DEBTORS’ ASSETS FREE AND CLEAR OF ALL
                         LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS,
                         (B) APPROVING THE ASSUMPTION AND ASSIGNMENT OF
                         CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                         RELATED THERETO, AND (C) GRANTING RELATED RELIEF

          I, Bradford Daniel, state as follows:

 1
   The Debtors, along with the last four digits of the Debtors’ federal tax identification numbers, are Stream TV
 Networks, Inc. (4092) and Technovative Media, Inc. (5015). Their corporate headquarters is located at 2009 Chestnut
 Street, 3rd Floor, Philadelphia, PA 19103. The location of the Debtor’s service address is: 2009 Chestnut Street, 3rd
 Floor, Philadelphia, PA 19103.




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        1.      I am over eighteen years of age and I believe the statements contained herein are

 true based on my personal knowledge. My business address is c/o BMC Group, Inc., 3732 West

 120th Street, Hawthorne, California 90250.

        2.      On September 30, 2024, at the direction of Obermayer Rebmann Maxwell &

 Hippel LLP, counsel to the Chapter 11 Trustee, copies of the above referenced document were

 served in the following manner on the parties listed on the attached Exhibit A via the modes of

 service indicated therein:


 Exhibit A             The Core/2002/Top Creditor Parties referenced in Service List Nos.
                       80949 and 80950.


 I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.

        Executed on the 1st day of October, 2024 at New York, New York.


                                                            /s/ Bradford Daniel
                                                              Bradford Daniel




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Total number of parties: 95



Exhibit A - Stream TV Networks
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Svc Lst Name and Address of Served Party                                                                     Mode of Service

 80949   HOLD JUMPER(SUZHOU)PACKING CO. LTD., DAVID LEE, SUZHOUSJG@163.COM                                   E-mail

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Svc Lst Name and Address of Served Party                                                                Mode of Service

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Svc Lst Name and Address of Served Party                                                                 Mode of Service

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Subtotal for this group: 95




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